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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

— 03-20227
OF CANADA, CIV-MARTINE

Plaintiff,
vs. MAGISTRATE JUDGE
UBE
DAVID M. LEVINE, AS CONSERVATOR NIGHT BOX
FOR FUTURE FIRST FINANCIAL GROUP, FILED
INC.; AGAPE, LLC; DORSEY L. BASS; | LL
MARY E. BASS; SUSAN COSTA; VIRGIE JAN 30 2003

HARPER; JOSEPH C. DIPRE; CLIFFORD G.

FLOYD; DOROTHY S. FLOYD; FRAN CLARENCE MADDOX
GREENE HAYES; CLAUDIS R. HOBBS: CLERK, USDC / SDFL/ MIA
SHARON L. HOBBS; ROBERT E. IVES;

I.C.M. ENTERPRISES EMPLOYEE PROFIT

SHARING PLAN; JAMES B. JONES:

SAUNDRA L. JONES; KENNETH KIGER:

ELLEN T. PREWITT: LARRY W. PREWITT:

RUTH ANN SETCHELL; GARY L. SILVES:

PATRICK A. SMITH: KRISTIAN KAY

WEATHERLY: DEBORAH L. WILLIAMS:

THOMAS A. WILLIAMS; EVELYN GREENE

YARBROUGH; AND MID-OHIO

SECURITIES CORPORATION FOR THE

BENEFIT OF KRISTINA KAY

WEATHERLY, GARY L. SILVES, SUSAN H.

COSTA, AND RUTH ANN SETCHELL,

Defendants.

/

COMPLAINT FOR INTERPLEADER AND DECLARATORY RELIEF

Plaintiff Sun Life Assurance Company of Canada (“Sun Life’) files this Complaint for

Interpleader and Declaratory Relief, and alleges:

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1. This is an action pursuant to 28 U.S.C. § 1335 for interpleader and declaratory
relief concerning the death benefit proceeds payable on a life insurance policy in connection with
the death of Peter H. Storrs.

2. Sun Life is a foreign corporation registered and authorized to do business in
Florida.

3. David M. Levine is the Conservator for Future First Financial Group, Inc.
(“Future First”). Future First is a Florida corporation that is engaged in the business of
purchasing life insurance policies for the benefit of its investors, a practice commonly known as
a viatical investment. Levine, is a citizen of Florida and, in his capacity as Conservator of Future
First, has advised Sun Life of the death of Peter H. Storrs and instructed Sun Life to forward the
benefits of Mr. Storrs’ life insurance policy to Future First and not to the identified beneficiaries.

4. Upon information and belief, Peter H. Storrs was, at the time of his death on July
28, 2002, a resident of Boston, Massachusetts.

5. Upon information and belief, Agape, LLC is an Indiana limited liability company
who is designated as a beneficiary of Mr. Storrs’ life insurance policy.

6. Upon information and belief, Dorsey L. Bass is a citizen of Florida who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

7. Upon information and belief, Mary E. Bass is a citizen of Florida who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

8. Upon information and belief, Susan Costa is a citizen of Georgia who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

9. Upon information and belief, Virgie Harper is a citizen of Georgia who is

designated as a beneficiary of Mr. Storrs’ life insurance policy.

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10. | Upon information and belief, Joseph C. DiPre is a citizen of Pennsylvania who is
designated as a beneficiary of Mr. Storrs’ iife insurance policy.

11. | Upon information and belief, Clifford G. Floyd is a citizen of Connecticut who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

12, Upon information and belief, Dorothy S. Floyd is a citizen of Connecticut who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

13. Upon information and belief, Fran Greene Hayes is a citizen of Georgia who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

14. Upon information and belief, Claudis R. Hobbs is a citizen of North Carolina who
is designated as a beneficiary of Mr. Storrs’ life insurance policy.

15. | Upon information and belief, Sharon L. Hobbs is a citizen of North Carlonina
who is designated as a beneficiary of Mr. Storrs’ life insurance policy.

16. | Upon information and belief, Robert E. Ives is a citizen of Florida who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

17, Upon information and belief, J.C.M. Enterprises Employee Profit Sharing Plan is
an employee benefit plan of J.C.M. Enterprises which is a citizen of California and who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

18. Upon information and belief, James B. Jones is a citizen of Florida who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

19. Upon information and belief, Saundra L. Jones is a citizen of Florida who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

20. Upon information and belief, Kenneth Kiger is a citizen of Ohio who is

designated as a beneficiary of Mr. Storrs’ life insurance policy.

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21. | Upon information and belief, Ellen T. Prewitt is a citizen of North Carolina who
is designated as a beneficiary of Mr. Storrs’ life insurance policy.

22. Upon information and belief, Larry W. Prewitt is a citizen of North Carolina who
is designated as a beneficiary of Mr. Storrs’ life insurance policy.

23. | Upon information and belief, Ruth Ann Setchell is a citizen of Ohio who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

24. Upon information and belief, Gary L. Silves is a citizen of Ohio who is designated
as a beneficiary of Mr. Storrs’ life insurance policy.

25. Upon information and belief, Patrick A. Smith is a citizen of Ohio who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

26. | Upon information and belief, Kristian Kay Weatherly is a citizen of Ohio who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

27. | Upon information and belief, Deborah L. Williams is a citizen of Texas who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

28. Upon information and belief, Thomas A. Williams is a citizen of Texas who is
designated as a beneficiary of Mr. Storrs’ life insurance policy.

29. Upon information and belief, Evelyn Greene Yarbrough is a citizen of Georgia
who is designated as a beneficiary of Mr. Storrs’ life insurance policy.

30. | Upon information and belief, Mid-Ohio Securities Corporation is a citizen of
Ohio who is designated as a beneficiary of Mr. Storrs’ life insurance policy for the benefit of
Kristina Kay Weatherly, Gary L. Silves, Susan H. Costa, and Ruth Ann Setchell.

31. This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1335 because Sun Life issued an insurance policy having a value in excess of five hundred

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dollars ($500), two or more adverse claimants are of diverse citizenship, and Sun Life has agreed
to deposit into the Court’s registry the full value of the insurance policy at issue.

32. | Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1397
because one or more of the claimants resides within the Southern District of Florida.

33. All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

34. Peter H. Storrs was employed by UNICCO Service Company, a company that
maintained life insurance benefits for its employees through Sun Life.

35. Pursuant to an application dated December 14, 1992, Sun Life issued a life
insurance policy on the life of Peter H. Storrs, bearing group policy number 97851 and certificate
number 048344895 (the “Policy”). The total death benefit of the Policy is $314,000.

36. On October 7, 1996, Mr. Storr assigned his Policy to The Fidelity Viatical Trust.
The Policy was then held in the name of The Fidelity Trust for the benefit of Future First
Financial Group, Inc. (“Future First”).

37. The Fidelity Viatical Trust appointed irrevocable beneficiaries on October 22,
1996. The designated irrevocable beneficiaries are Agape, LLC; Dorsey L. Bass; Mary E. Bass;
Susan Costa; Virgie Harper; Joseph C. Dipre; Clifford G. Floyd; Dorothy S. Floyd; Fran Greene
Hayes; Claudis R. Hobbs; Sharon L. Hobbs; Robert E. Ives; J.C.M. Enterprises Employee Profit
Sharing Plan; James B. Jones; Saundra L. Jones; Kenneth Kiger; Ellen T. Prewitt; Larry W.
Prewitt; Ruth Ann Setchell; Gary L. Silves; Patrick A. Smith; Kristian Kay Weatherly; Deborah
L. Williams; Thomas A. Williams; Evelyn Greene Yarbrough; and Mid-Ohio Securities
Corporation for the benefit of Kristina Kay Weatherly, Gary L. Silves, Susan H. Costa, and Ruth

Ann Setchell.

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38. On August 9, 2002, the Circuit Court of the Seventh Judicial Circuit in and for St.
Johns County, Florida issued an order appointing David M. Levine as Conservator of Future
First. In the order, the Court authorized the Conservator to, among other things, take possession
of Future First’s property and assets. A copy of the Circuit Court’s Order is attached as Exhibit
“a”

39. The Conservator believes that the benefits of the Policy are assets of Future First,
and he has demanded that Sun Life pay the benefits of the Policy directly to Future First. A copy
of the Conservator’s January 24, 2003 demand letter is attached as Exhibit “B.”

40. Accordingly, the Irrevocable Beneficiaries, by virtue of their status, and the
Conservator each claim entitlement to the Policy benefits.

41. Because of these conflicting claims, Sun Life is in great doubt as to who is
entitled to be paid the Policy benefits.

42. Sun Life has no beneficial interest in the benefits to be paid pursuant to the Policy
and is merely a stakeholder. Sun Life files this action to be relieved of multiple liability on the
conflicting claims of the Irrevocable Beneficiaries and the Conservator to the Policy benefits.

43. Sun Life agrees to pay into the Court registry the Policy benefits that are in
dispute and will abide by the judgment of this Court, in order that the Defendants may interplead
and settle their claims.

44. Sun Life has retained the law firm of Steel Hector & Davis LLP to represent it in
this action and has agreed to pay reasonable attorney’s fees and costs. Sun Life is entitled to
recover its attorney’s fees and costs pursuant to applicable law.

Wherefore, Sun Life requests:

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A. That Sun Life be permitted to pay into the registry of this Court the death benefit
proceeds payable on insurance policy number 97851 and certificate number
048344895 in the amount of $314,000.00, and providing that any fees charged by
the Clerk of Court or accrued in this account by operation of this Court’s registry
requirements shall be paid from the deposit and shall not be the separate
responsibility of any party to this action;

B. That each of the Defendants be restrained and enjoined during the pendency of
this action and permanently from instituting any action against Sun Life for
recovery of the amount in dispute or any part thereof;

C. That the Defendants be required to interplead and settle between themselves their
rights and/or claims to the death benefit proceeds described above and that Sun
Life be discharged from all liability for all payments made into the registry of this
Court;

Dz. That Sun Life recover its costs and attorney’s fees necessitated by this

interpleader action; and

E. That Sun Life have such other and further relief as this Court deems just and
proper.
Dated January ® 73003
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SAAD

Peter M. Kramer, P.A.
Florida Bar No. 438250

Eduardo S. Lombard
Florida Bar No. 0153590

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EXHIBIT “A”
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“VY ST. JOHNS COUNTY, FLORIDA 09:31AM 08/12/2002

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CASE NO. CAG2-1598

DIVISION 55 vere Fei bras Ths aba
Mok Mrs Me CORRE Ps bhai: o
OPEC IN KS ae oe “ BES.

STATE OF FLORIDA ey LA oe

DEPARTMENT OF INSURANCE, / * Oat on oo

Petitioner, S sn Mull. Bega . :, eae

ORDER APPOINTING CONSERVATOR “37

VS. =
FUTURE FIRST FINANCIAL GROUP, INC., and LIFE = ong
SETTLEMENT SERVICES CORP., ° =
Respondent. eo i
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THIS MATTER came to be heard by the Court upon the Emergency Petition for Appointment of
Conservator filed by the Petitioner, State of Florida, Department of Insurance (hereinafter “DEPARTMENT’)
against the Respondents, Future First Financial Group, Inc. (hereinafter “FUTURE FIRST”) and Life Settlement
Services Corp. (hereinafter “LIFE SETTLEMENT”). At the hearing on the 6" and the 7" day of August, 2002, the
Petitioner was represented by Michael H. Davidson, Esquire and the Respondents were represented by Christopher
A. White, Esquire. The Court heard and considered the testimony of Janice S. Davis a Regulator and Field
Examiner with the Florida Department of Insurance. The Court also received and reviewed all the documentary
evidence and heard and considered argument of counsel.

The Department is an agency of the State of Florida charged with licensing and regulating viatical
settlement providers in the State of Florida. The Department has the authority to regulate viatical settlement
providers pursuant to Florida Statute Chapter 626.99285, Florida Statutes Chapter 624.310. Florida Statutes Chapter
626.901 and Florida Statutes Chapter 626.989. The Respondent, Future First, is a Florida corporation located and
doing business in St. Johns County, Florida and is a revoked viatical settlement provider. It’s license was revoked

by order of the Department entered on May 17, 2002. Section 626.9915(1) Florida Statutes provides and requires
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that a revoked viatical insurance provider conclude its operations and cease and desist its business affairs at the time
of the revocation. Because of the revocation, Future First can no longer legally solicit, negotiate, advertise or
effectuate new viatical contracts and has to immediately proceed to conclude its affairs and the business it was
transacting at the time of the revocation. The Department, pursuant to Florida Statute 626.9915, retains continuing
jurisdiction over Future First until all its viatical contracts have been fulfilled, or canceled or have expired and its
continued maintenance and service of those viatical policies is subject to the Department’s approval.

According to the testimony and exhibits offered through Ms. Davis, Future First records revealed
that Future First: (1) has continued to operate as usual since its license revocation rather than cease business and
conclude its affairs as required pursuant to the Florida law and (2) has insufficient funds in its disclosed accounts
to continue to maintain the premiums for the policies purchased by its investors. Additionally, Ms. Davis testified
that a review of the records provided to her from Future First show that Future First collected approximately $400
million in capital from approximately 9400 investors and purchased approximately $318 million worth of insurance
with approximatley 2600 policies.

Future First’s records reveal that a small number of these policies are what the industry terms as “paid
up policies”, the others require premimums to be paid on a monthly or other regular basis in order for them to remain
in force.

The Final Order issued by the Department on May 17, 2002 revoking Future First’s license stated
as follows:

Respondent’s, Future First Financial Group, Inc., license shall be revoked pursuant

to Section 626.9914, Florida Statutes immediately upon entrance of this Final Order.

As a condition of said revocation, Respondent must proceed immediately following

effective date of the revocation, to conclude the affairs it is transacting under its

license. The provider may not solicit, negotiate, advertise, or effectuate new

contracts. The Department retains jurisdiction over the provider until all contracts

have been fulfilled or canceled or have expired. Respondent may continue to
maintain and service viatical policies subject to the approval of the Department.
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The purchase agreement between Future First Financial Group, Inc. and each investor provided in pertinent part as
follows: “Purchaser is not required to make any payment other than the purchase price” and “ Trustee will pav
insurance policy(ies) premiums until actual maturity(ies) out of Fidelity Viatical Special Trust Account.” Ms. Davis
testified that her review of the bank records show that there were insufficient funds in the Fidelity Viatical Special
Trust Account to continue payment of the required premiums on all of the policies purchased by investors.
Subsequent to the Order of the Department revoking its license, Future First, entered into a service
agreement with Life Settlement Service Corp to service the policies of Future First investors without the permission
of the Department. This agreement was entered into by Future First on the 21% day of June, 2002 and provided that
Life Settlements would, among other things, review policies, monitor viators, conduct mailings, advertising, trustee
provisions, legal referrals, file storage, medical life expectancy, and office space, all relative to the policies and
investor activities for viatical settlement policy of Future First. This is in clear contradiction of and an attempt to
circumvent the Department’s Order Revocation of May 17" provisions of Florida Statutes Chapter 626.
In addition, the documents provided by Future First and Life Settlements to the Department included
two (2) pieces of correspondence, one dated July 8, 2002 and the other dated July 18, 2002.
In the July 8, 2002 letter, forwarded by Life Settlements Service Corporation to investors of Future
First Financial Group, the letter provided in pertinent part,
“The Fidelity Trust has advised Service Corp the Premium Escrow account has insufficient funds
to make future premium payments on insurance policies. Premium payments must be made
according to policy requirements in order to insure the policy stays in force and in good standing.
Service Corp. management and staff has six years of experience in servicing over 9000 investors
monthly.
These circumstances have a solution, but there is a very time sensitive deadline. You must act now
or your policy investment will lapse, resulting in an unnecessary loss. The Trust account that

disburses premium payments is prepared to facilitate all payments.

Please provide a check pavable to the Fidelity Trust Special Account for premium pavments. and a

check pavable to Life Sertlement Service Corp for servicing and monitoring. See enclosed invoice.”

The July 18, 2002 letter, forwarded by Life Settlements Service Corporation to investors of Future

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First Financial Group, provided in pertinent part,
“Enclosed please find an invoice that requires your prompt attention. We understand that you may
or may not have already received an invoice regarding this investment. We urge that you carefully
review the enclosed statement regarding this investment only.
This may be one of several investments you have, which will result in several invoices for individual
policies. If you have several policies that you have investments on, you will receive a statement for
each of those as we find premiums due. Based on our current research, these premiums are due

immediately in order to keep this policy active.

Pleased be advised that time is of the essence in order to keep the insurance policy active.”

These letters clearly show that Future First was attempting to continue its viatical settlement
obligations through a third party, namely Life Settlements, and was not concluding its affairs as ordered, but was
soliciting additional funds through a third party from investors in contradiction of its agreement with those investors.
The relationship between Future First and Life Settlement is not at an arm’s length, and the agreement was
approved by the Department.

From the testimony before this Court it is clear that (1) Future First had its license revoked for its
failure to follow the laws and regulations regarding viatical insurance settlements by the Florida Department of
Insurance on May 17, 2002; (2) the Order of revocation specifically provided that the “Respondent must proceed
immediately.....to conclude the affairs it is transacting under its license” and that the “Department retains jurisdiction
over the provider until all contracts have been fulfilled or canceled or have expired”; (3) the documents provided
by Future First reveal and the testimony of Ms. Davis confirms that Future First did not attempt to “immediately”
conclude the affairs it was transacting; (4) there are insufficient funds to insure payments for policy premiums for
which Future First was responsible. (Parenthetically, in the event there are other funds available to Future First,
those funds and the sources of those funds, were not disclosed in the documents provided to the Department.); (5)
subsequent to the revocation of the license of Future First, Future First negotiated and executed a servicing contract
with the Respondent, Life Settlement, and that members of the management of Future First positioned themselves
in management positions for Life Settlement Services Corp; and (6) Life Settlement has solicited funds from Future

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First investors.

It is clear from the testimony presented by Ms. Davis and the documents and other evidence
presented to the Court, that the investors of Future First are in jeopardy of losing their entire investment if Future
First is allowed through Life Settlement to contro] the investments and the payment of the policy premiums. This
Court will not allow Future First and its management team, who were responsible for putting its investors in a
perilous financial situation, to again subject these same investors to possible further financial peril and losses by
assuming control and soliciting funds through a newly formed corporation. Accordingly, this Court finds that it
is evident under the circumstances of this case, considering all of the evidence presented, that a Conservator should
be appointed for Future First Financial Group, Inc. in order to prevent irreparable loss, damage, or injury to

investors in viatical and/or life settlement contracts effectuated by Future First Financial Group, Inc.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that David Levine, of Tew
Cardenas Rebak Kellogg Lehman DeMaria Tague Raymond & Levine, L.L.P. (Conservator), is hereby appointed
Conservator of Future First and of its assets and property as follows and with the following powers and authority:

1. The Conservator is hereby authorized and empowered to take immediate possession of all
property and assets belonging to Future First of every kind whatsoever and wherever located including, but not
limited to:

(a) 1 life insurance policies and the proceeds therefrom (including death benefits) owned or held
beneficially, directly or indirectly, by or for the benefit of Future First, The Fidelity Trust, and/or Investors, or any
successors or assigns of the foregoing entities, that were purchased from the date of inception of Future First
through the present date (Policies.)

(b) all assets of Future First including, but not limited to: computer hardware, databases, software,

Investor and viator files relating to the Policies, all accounting and financial records including those pertaining to
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premium payments and receipt and distribution of proceeds on the Policies, any deposits of cash, bonds or
guarantees, filing cabinets, office supplies, any leases of office space, and telephone systems;

(c) all premium reserve accounts, bank accounts, and any other depository accounts, wherever
situated, into which Future First Investor funds or proceeds from Future First Policies have been deposited;

(d) any trust, including The Fidelity Trust, and the assets thereof, as well as any predecessor or
successor trust, or any affiliated trust set up pertaining to the business of Future First;

(e) all rights of action, books, papers, data processing records, evidences of debt, bank accounts,
savings accounts, certificates of deposit, stocks, bonds, debentures, and other securities, mortgages, furniture,
fixtures, office supplies and equipment, and all real property of Future First, wherever situated; and

(f) all other assets and property acquired with the proceeds of funds or assets of Future First,

including The Fidelity Trust (Paragraphs 1(a)-(f) collectively referred to as Conservatorship Assets).

IT IS FURTHER ORDERED that the Conservator is given directions and authority to accomplish
the following:

2. To manage all Conservatorship Assets pending further action by this Court including, but not
limited to, the evaluation of the Policies, and to take the necessary steps to protect the Investors’ interests
including, but not limited to, the liquidation, sale, or financing of the Policies to institutional buyers and/or
financiers, and the assessment to Investors of future premium payments;

3. to receive and collect any and all sums of money due or owing on the Policies to Future First
or its agents whether the same are due or shall hereinafter become due and payable;

4. to seek the return of any cash, bond, or guarantee on deposit with any regulatory agency or
other entity on behalf of Future First or its agents:

5. to make such payments and disbursements as may be necessary and advisable for the
preservation of the Conservatorship Assets and as may be necessary and advisable in discharging his duties as

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Conservator including, but not limited to, the timely payment from available funds or proceeds of financing of all
premiums for Policies that have not yet matured;

6. to monitor the viators of the Policies by tracking the location of the viators and periodically
checking the health of the viators;

7. toreceive notice of the death of viators, file death claims on the viators, and collect the proceeds
paid on the Policies as such mature;

8. subject to further order of the Court, to disburse to Investors and other creditors of Future First
the proceeds paid on matured Policies, and the proceeds of other Conservatorship Assets collected by the
Conservator;

9. to give notice to Investors, at their last-known mailing address, of this Conservatorship Order
within thirty (30) days of the entry of this Order and to establish a method by which Investors may obtain periodic
updates;

10. to retain or discharge attorneys, accountants, computer consultants, trustees, and other persons
as may be advisable or necessary to the exercise of the duties of the Conservator subject to application to and
approval by the Court;

11. to employ, compensate, or discharge office staff;

12. to open and inspect any and all mail and/or deliveries, and to notify any insurance company
or third party administrator and the United States Postal Service to effect the forward delivery of any mail related
to the Conservatorship Assets to a mail depository under the control of the Conservator;

13. to investigate the manner in which the affairs of Future First were conducted and institute such
legal actions and legal proceedings, for the benefit and on behalf of Future First and Investors and other creditors,
as the Conservator deems necessary against those individuals, corporations, partnerships, associations, and/or
unincorporated organizations, which the Conservator may claim to have wrongfully, illegally, or otherwise
improperly misappropriated or transferred monies or other proceeds directly or indirectly traceable from Investors

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in Future First including against Future First and the officers, directors, shareholders, employees, affiliates, and any
persons acting in concert or participation with them, or against any transferees of monies or other proceeds directly
or indirectly traceable from Investors to Future First; provided such actions may include, but not be limited to,
seeking imposition of constructive trusts, disgorgement of profits, recovery and/or avoidance of fraudulent transfers
under Florida Statute sections 726.101, et seq., or otherwise, rescission and restitution, the collection of debts, and
such orders from this Court as may be necessary to enforce this Order;

14. to pursue any and all causes of action belonging to Future First;

15. to present to this Court, within thirty (30) days of the date of this Order, a preliminary report
reflecting the status of the Conservatorship, upon receipt of which the Court may institute such further proceedings
as the Court deems advisable. Thereafter, unless otherwise ordered by the Court, commencing on January 15, 2003,
the Conservator shal] file quarterly reports with the Court apprising the Court of its progress;

16. to defend, compromise, or settle legal actions, including the instant proceeding, wherein Future
First or the Conservator is a party, commenced either prior to or subsequent to this Order, with authorization of this
Court; except, however, in actions where Future First is a nominal party, as in certain foreclosure actions where the
action does not effect a claim against or adversely affect the assets of Future First, the Conservator may file
appropriate pleadings in his discretion. The Conservator may waive any attorney-client, accountant-client, or any
other privilege held by Future First;

17. to assume contro] of, and be named as authorized signatory for, all accounts in any bank,
brokerage firm, financial institution, or other depository which has possession, custody, or control of any assets or
funds, or the proceeds, wherever situated. of Future First and, upon order of this Court, of any other entities;

18. to make or authorize such payments and disbursements for customary operating expenses from
ihe funds and assets taken into control or thereafter received by the Conservator. and incur, or authorize the
incurrence of. such expenses and make. or authorize the making of, such agreements as may be reasonable,
necessary, and advisable in discharging his duties as Conservator;

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19. to sell assets or property including Conservatorship Assets, with the approval of the Court:

20. to accept, continue, reject, cancel or negotiate modifications to excutory contracts and
unexpired leases as allowed by the terms thereof or with Court approval;

21, to exercise those other powers necessary to implement this Conservatorship pursuant to the

orders and directives of the Court.

IT IS FURTHER ORDERED as follows:

22. Future First and its directors, officers, shareholders, agents, and other persons who are in
custody or control of Conservatorship Assets, including The Fidelity Trust and Life Settlement Services Corp. (Life
Settlement), shall immediately execute such documents as may be necessary and take any other action as necessary

to immediately transfer the ownership and beneficial rights to the Conservatorship Assets to the Conservatorship.

23. All banks, brokerage firms, financial institutions, and other business entities and individuals
which have possession, custody, or control of any assets, funds, or accounts, in the name of, or for the benefit of,
Future First shall cooperate expeditiously in the granting of control and authorization as a necessary signatory as
to said assets and accounts to the Conservator and in turning over and transferring to the Conservator any and all
funds in such accounts and copies of all records and statements concerning such accounts. Such banks, brokerage
firms, financial institutions, and other business entities and individuals shall also identify to the Conservator whether
any additional accounts exist that appear to be related to or associated with Future First; and, if such accounts do
exist, such banks, brokerage firms, financial institutions, and other business entities and individuals shall cooperate
expeditiously in the granting of control and authorization as a necessary signatory as to said assets and accounts to
the Conservator and in turning over and transferring to the Conservator any and all funds in such accounts and
copies of all records and statements concerning such accounts.

24. Unless and as authorized by the Conservator, no person or entity, including Future First and

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its principals, shall take any action, nor purport to take any action, in the name of or on behalf of Future First.

25. Future First, Life Settlement and The Fidelity Trust and their principals, officers, agents.
emplovees, atturneys, and attorneys-in-fact, shall cooperate with and assist the Conservator including, if deemed
necessary by the Conservator, appearing for deposition testimony and producing documents, upon five (3) business
days notice (which may be sent by facsimile), and shall take no action, directly or indirectly, to hinder, obstruct,
or otherwise interfere with the Conservator in the conduct of his duties or to interfere in any manner, directly or
indirectly, with the custody, possession, management, or control by the Conservator of the funds, assets, premises,
and choses in action described above.

26. All persons and entities, including Life Settlement, The Fidelity Trust, Future First, and their
subsidiaries, affiliates, officers, directors, trustees, agents, servants, employees, attorneys, and all persons acting on
their behalf, under their direction and control, and/or in concert or participation with them, and further including
any banks or financial institutions, wherever chartered or located, life insurance companies, federal or state agencies,
viators, viatical settlement providers, and viatical settlement brokers who receive actual notice of this
Conservatorship Order, by personal service, facsimile transmission or otherwise, shall promptly deliver and
surrender to the Conservator:

(a) all Conservatorship Assets in the possession of or under the control of any one or more of them;
and

(b) all books and records of any kind pertaining to the Conservatorship Assets, to the Investors,
or to the viators whose lives are insured by the Policies.

27. All persons and entities, including Life Settlement, The Fidelity Trust, Future First, and their
subsidiaries, affiliates, officers, directors, trustees, agents, servants, employees, attorneys, and all persons acting on
their behalf, under their direction and control, and/or in active concert or participation with them, and further
including any banks or financial institutions, wherever chartered or located, life insurance companies, federal and
state agencies, viators, viatical settlement providers, and viatical settlement brokers who receive actual notice of

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Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 20 of 45

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this Conservatorship Order, by personal service, facsimile transmission or otherwise, fully cooperate with and assist
the Conservator and that they take no action, directly or inditectiy, to hinder or obstruct the Conservator in the
conduct of his duties or to interfere in any manner, directly or indirectly, with the custody, possession, or control
exercised by said Conservator.

28. The Conservator is authorized, without breaching the peace, to enter and secure any premises
under the control of Future First or its agents, wherever located or situated, in order to take possession, custody or
control of, or identify the location or existence of, any Conservatorship Assets.

29. The Conservator and his professionals and consultants may apply to the Court for
compensation, from time to time, in a reasonable sum to be determined by the Court and from such sources as
approved by the Court and for reimbursement for reasonable expenses incurred by them in connection with their
duties. The fees and expenses of the Conservator and for professionals and consultants shall have priority over any
other claims made against Future First.

30. Except by leave of Court during the pendency of this Conservatorship, all creditors and other
persons or entities seeking money, damages or other relief from Future First or its agents, and all others acting on
behalf of any such creditors or other persons or entities, including sheriffs, marshals, and other officers and their
deputies, and their respective attorneys, servants, agents, and employees, are hereby stayed and restrained from
doing any act or thing whatsoever to interfere with Future First or its agents, in an orderly transfer of the
Conservatorship Assets or the Conservator or to the possession of or management by the Conservator of the
Conservatorship Assets, or to interfere in any manner during the pendency of this proceeding with the exclusive
jurisdiction of this Court over Future First. This Conservatorship Order shall not stay or restrain any pending or
future action whatsoever by any government agency or any representative on behalf of any government. All
sheriffs, marshals, police officers and other law enforcement officials shall assist the Conservatorship in
enforcement of this court’ s orders.

31. With the Court’s prior approval, the Conservator is solely and fully authorized to proceed with

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any filing he may deem appropriate under the United States Bankruptcy Code as to Future First.

32. Title to all property, real or personal, all contracts, rights of action and all books and records
of Future First, wherever located within or without this state, is vested by operation of law in the Conservator unti!
further order of the Court.

33. Upon request by the Conservator, any company providing telephonic services to Future First
shall provide a reference of calls from the number presently assigned to Future First to any such number designated
by the Conservator or perform any other charges necessary to the conduct of the Conservatorship.

34. Any entity furnishing water, electric, telephone, sewage, garbage or trash removal services to
Future First shall maintain such service and transfer any such accounts to the Conservator unless instructed to the
contrary by the Conservator.

35. The United States Postal Service is directed to provide any information requested by the
Conservator regarding Future First, and to handle future deliveries of Future First’s mail as directed by the
Conservator.

36. No bank, savings and loan association, other financial institution, or any other person or entity
shall exercise any form of set-off, alleged set-off, lien, or any form of self-help whatsoever, or refuse to transfer any
funds or assets of Future First to the Conservator’ s control without the permission of this Court.

37. No bond shall be required in connection with the appointment of the Conservator and persons
employed or retained by the Conservator. Except for any act of gross negligence, the Conservator and his retained
professionals and consultants shall not be liable for any loss or damage incurred by Future First or by the
Conservator’ s officers, agents, or employees, or any other person, by reason of any act performed or omitted to be
performed by them in conjunction with the discharge of their duties and responsibilities hereunder.

38. Service of this Order shall be sufficient if made upon Future First’ s attorneys or principals by
facsimile, hand-delivery, overnight courier, or United States mail.

39. Inthe event that the Conservator discovers that funds of Future First or of its Investors have

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been transferred to other persons or entities, the Conservator may apply to this Court for an Order giving the
Conservator possession of such funds and, if the Conservator deems it advisable, extending this Conservatorship
over anv person or entity holding such funds.

40. Immediately upon entry of this Order, the Conservator may take depositions upon oral
examination of, and obtain the production documents from, parties and non-parties subject to five (5) business days
notice. In addition, immediately upon entry of this Order, the Conservator shall be entitled to serve interrogatories
and requests for admission, which shall be responded to within twenty (20) calendar days of service. Service of
discovery requests shall be sufficient if made by facsimile or overnight courier; depositions may be taken by
telephone or other remote electronic means.

41. Life Settlement and The Fidelity Trust shall immediately provide the following information
to the Conservator:

(a) An accounting (including receipt and disbursement) of all funds received from Future First
Investors, Future First, The Fidelity Trust, or Life Settlement, and all financial information and records pertinent
thereto.

(b) All records regarding the Policies, including servicing of or collections on the Policies.

42. Until notified in writing by the Conservator, or until it properly exercises any contractual option
to terminate servicing, Life Settlement shall continue servicing the Policies and provide daily written reports to the
Conservator regarding that servicing. All fees collected and to be collected for such servicing of the Policies shall
be immediately deposited in a separate suspense account under the control of the Conservator pending further order
of the Court.

43. Any and all death benefit payments on the Policies received by Life Settlement, The Fidelity
Trust, or their successors or assigns shall be immediately deposited in a separate suspense account under the control
of the Conservator pending further order of the Court.

44, Because of their solititation of funds from Future First Investors and Future First until notified

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otherwise in writing by the Conservator, Life Settlement, The Fidelity Trust, Future First, and/or Charles R.
Sussman shail remit any monies from Investors, received pursuant to solicitation tor premium payments, to the
applicable insurer, and provide a daily written report thereof to the Conservator. Absent other agreement between
the Conservator and Mr. Sussman/ Fidelity Trust, the Conservator shall assume premium payment responsibilities
currently being dishcarged by Mr. Sussman/ Fidelity Trust by a date no later than twenty (20) days of the date of
this Order. During this transition period Mr. Sussman/ Fidelity Trust will continue to be reasonably compensated
for their services.

45. Life Settlements shall deliver to the Conservator all Policies and Policy account and payment
information relative to the Policies, including identification of all investors, their addresses and other information
necessary for the Conservator to determine the payment history, any current payments due, the name of the investors
associated with each Policy of Future First.

46. Life Settlement, Future First, The Fidelity Trust, and Charles R. Sussman, shall immediately
provide to the Conservatcr a copy of any notice, in their possession, custody, or control, from any insurer, of lapse,
cancellation, or other indication of Policy termination, or of any notice suggesting an insurer’s intent to terminate
Policy coverage by reason of lapse, cancellation, or otherwise. For purposes of this Paragraph, immediate shall
mean no later than twenty-four (24) hours after execution of this Order or receipt of such notice by the foregoing
person or entities.

47. This Court retains jurisdiction over the parties and subject matter of this action to ammend or
modify this Order to either enlarge or restrict the activities of the Conservator and for all other purposes.

DONE AND ORDERED this 9" day of August, 2002, at St. Augustine, St. Johns County, Florida.

J. MICHAEL TRAYN
CIRCUIT COURT JU

Copies to:
Michael H. Davidson, Esq.
Christopher A. White, Esq.

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IN THE CIRCUIT COURT, SEVENTH
JUDICIAL CIRCUIT, IN AND FOR

ST. JOHNS COUNTY, FLORIDA Public Records of
St. Johns County, FL

CASE NO. CA02-1598 Clerké G2-047091

DIVISION 55 O.R. 1798 PG 426

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STATE OF FLORIDA
DEPARTMENT OF INSURANCE,

Petitioner,
VS.
FUTURE FIRST FINANCIAL GROUP, INC., and LIFE 3
SETTLEMENT SERVICES CORP., = =
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Respondent. _ =
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WW ORDER CORRECTING CLERICAL ERROR uD a
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/ This matter came to be considered by the Court upon its own motion pursuant to Fférida Rule of

Civil Procedure 1.540 and the Court finding that the Order Appointing Conservator in the above styled matter which

was entered by this Court on 9" day of August, 2002 contained a clerical error on page 4 and that same should be
corrected, it is therefore

ORDERED AND ADJUDGED that on page 4, in the second paragraph which begins with the
words “ These letters clearly show...”, the last sentence should read as follows: “ The relationship between Future
First and Life Settlement is not at arm’s length, and the agreement was not approved by the Department.”.

DONE AND ORDERED this 13" day of August, 2002, at St_Augustine, St. Johns County, Florida.

J. MICHAEL TRAYNO
CIRCUIT COURT JUDGE

Copies to:
Michael H. Davidson, Esq.
Christopher A. White, Esq.

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Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 25 of 45

EXHIBIT “B"
Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 26 of 45

DAVID M. LEVINE, CONSERVATOR
for Future First Financial Group, Inc.
Suite 2600
201 S. Biscayne Boulevard
Miami, FL 33131-4336
Telephone: (305) 536-1112
Facsimile: (305) 536-1116

January 24, 2003

Via U.S. Mail and Facsimile (305) 577-7001
Peter M. Kramer, Esq.

Steel Hector & Davis LLP

200 South Biscayne Blvd, Suite 4000

Miami, FL 33131-2398

RE: — Insurer: Sun Life Assurance Company of Canada
Insured: Peter H. Storrs
Policy / Contract No: 97851

Dear Peter:

On behalf of David M. Levine, Conservator, this office previously notified Sun
Life Assurance Company of Canada (“Sun Life”) of the death of the above insured. As
you are representing Sun Life, we wanted to notify you that as Conservator, this office is
in the process of completing the required claims package for the above-referenced policy.
We hereby request that the processing of this claim be handled through our office in
Jacksonville, FL at the following address: Future First Conservatorship, 1301 Riverplace
Blvd., Suite 1700A, Jacksonville, FL 32207, telephone: (904) 398-3653. We request that
all questions regarding the processing of this claim be directed to our Jacksonville office
as well. Additionally, we request that the death benefit for this policy be sent to our
Jacksonville, FL office upon completion of the processing of this claim, and not to the
beneficiaries indicated in vour records. The basis for our requests to process this claim
and collect the death benefit is described below.

On August 9, 2002, an Order Appointing Conservator for Future First Financial
Group, Inc., of Ponte Vedra, Florida (“Future First”), was entered by the 7 Judicial
Circuit Court, In and For St. Johns County, Florida, by The Honorable J. Michael
Traynor. A copy of the Order and the amendment thereto, issued on August 14, 2002, is
attached for your reference.

The Order appointed David M. Levine as Conservator of Future First and
authorized the Conservator to take immediate possession of all Conservatorship Assets.
Specifically, Paragraph 1(a) of the Order states in pertinent part,

lL. The Conservator is hereby authorized and empowered to take immediate
possession of all property and assets belonging to Future First of every kind whatsoever
and wherever located including, but not limited to:
Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 27 of 45

(a) all life insurance policies and the proceeds therefrom (including death
benefits) owned or held beneficially, directly or indirectly, by or for the benefit of Future
First, The Fidelity Trust, and/or Investors, or any successors or assigns of the foregoing
entities, that were purchased from the date of inception of Future First through the
present date (Policies.)....

The above-referenced policy was held in the name of The Fidelity Trust for the benefit of
Future First Financial Group investors. Accordingly, as a Conservatorship Asset, the
Conservator is authorized by the Order to process the claim and collect the death benefit
from this policy.

In addition to the language of Paragraph I(a) of the Order, cited above, these requests
are consistent with the provisions of Paragraphs 26 and 27 of the Order, which read as
follows:

26. All persons and entities, including Life Settlement, The Fidelity Trust, Future First,
and their subsidiaries, affiliates, officers, directors, trustees, agents, servants,
employees, attorneys, and all persons acting on their behalf, under their direction and
control, and/or in concert or participation with them, and further including any banks
or financial institutions, wherever chartered or located, life insurance companies,
federal or state agencies, viators, viatical settlement providers, and viatical settlement
brokers who receive actual notice of this Conservatorship Order, by personal service,
facsimile transmission or otherwise, shall promptly deliver and surrender to the
Conservator:

(a) all Conservatorship Assets in the possession of or under control of any one or
more of them;

and

(b) all books and records of any kind pertaining to the Conservatorship Assets, to

the Investors, or to the viators whose lives are insured by the Policies.

27. All persons and entities, including Life Settlement, The Fidelity Trust, Future First,
and their subsidiaries, affiliates, officers, directors, trustees, agents, servants,
employees, attorneys, and all persons acting on their behalf, under their direction and
control, and/or in concert or participation with them, and further including any banks
or financial institutions, wherever chartered or located, life insurance companies,
federal or state agencies, viators, viatical settlement providers, and viatical settlement
orokeis who receive aciual novice of this Conservaiorehip Ordei, by persunal service,
facsimile transmission or otherwise, fully cooperate with and assist the Conservator
and that they take no action, directly or indirectly, to hinder or obstruct the
Conservator in the conduct of his duties or to interfere in any manner, directly or
indirectly, with the custody, possession, or control exercised by said Conservator.
(emphasis added.)

If you need any additional information, please do not hesitate to contact me at our
Jacksonville office at the address above, or by telephone at (904) 398-3653, or at my
Tallahassee office at (850) 841-7770.

Very truly yours,

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(pe £0 Dp

John L. Brennan III
Cc: Michael M. Bajalia, Esq.
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_ IN THE CIRCUIT COURT, SEVENTH Clerk? oo-046e12. FL

3) JUDICIAL CIRCUIT, IN AND FOR On 8797 Pa 743

VV) ST. JOHNS COUNTY, FLORIDA 09:31AM 08/12/2002
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CASE NO. CA02Z-1598

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STATE OF FLORIDA sh Oug on

DEPARTMENT OF INSURANCE,

Petitioner, G i flo thega— . Nees _

VS. =>
FUTURE FIRST FINANCIAL GROUP, INC., and LIFE = on
SETTLEMENT SERVICES CORP., med
Respondent. oO
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ORDER APPOINTING CONSERVATOR S

THIS MATTER came to be heard by the Court upon the Emergency Petition for Appointment of

Conservator filed by the Petitioner, State of Florida, Department of Insurance (hereinafter “DEPARTMENT”)
against the Respondents, Future First Financial Group, Inc. (hereinafter “FUTURE FIRST”) and Life Settlement
Services Corp. (hereinafter “LIFE SETTLEMENT"). At the hearing on the 6" and the 7" day of August, 2002, the
Petitioner was represented by Michael H. Davidson, Esquire and the Respondents were represented by Christopher
A. White, Esquire. The Court heard and considered the testimony of Janice S. Davis a Regulator and Field
Examiner with the Florida Department of Insurance. The Court also received and reviewed all the documentary
evidence and heard and considered argument of counsel.

The Department is an agency of the State of Florida charged with licensing and regulating viatical
settlement providers in the State of Florida. The Department has the authority to regulate viatical settlement
providers pursuant to Florida Statute Chapter 626.99285, Florida Statutes Chapter 624.310, Florida Statutes Chapter
626.901 and Florida Statutes Chapter 626.989. The Respondent, Future First, is a Florida corporation located and
doing business in St. Johns County, Florida and is a revoked viatical settlement provider. It’s license was revoked

by order of the Department entered on May 17, 2002. Section 626.9915(1) Florida Statutes provides and requires

ATTACHMENT | EXHIBIT

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‘that a revoked viatical insurance provider conclude its operations and cease and desist its business affairs at the time
of the revocation. Because of the revocation, Future First can no longer legally solicit, negotiate, advertise or
effectuate new viatical contracts and has to immediately proceed to conclude its affairs and the business it was
transacting at the time of the revocation. The Department, pursuant to Florida Statute 626.9915, retains continuing
jurisdiction over Future First until all its viatical contracts have been fulfilled, or canceled or have expired and its
continued maintenance and service of those viatical policies is subject to the Department’s approval.

According to the testimony and exhibits offered through Ms. Davis, Future First records revealed
that Future First: (1) has continued to operate as usual since its license revocation rather than cease business and
conclude its affairs as required pursuant to the Florida law and (2) has insufficient funds in its disclosed accounts
to continue to maintain the premiums for the policies purchased bv its investors. Additionally, Ms. Davis testified
that a review of the records provided to her from Future First show that Future First collected approximately $400
million in capital from approximately 9400 investors and purchased approximately $318 million worth of insurance
with approximatley 2600 policies.

Future First’s records reveal that a small number of these policies are what the industry terms as “paid
up policies”, the others require premimums to be paid on a monthly or other regular basis in order for them to remain
in force.

The Final Order issued by the Department on May 17, 2002 revoking Future First’s license stated
as follows:

Respondent’s, Future First Financial Group, Inc., license shall be revoked pursuant

to Section 626.9914, Florida Statutes immediately upon entrance of this Final Order.

As a condition of said revocation, Respondent must proceed immediately following

effective date of the revocation, to conclude the affairs it 1s transacting under its

license. The provider may not solicit, negotiate. advertise, or effecruate new

contracts. The Department retains jurisdiction over the provider until all contracts

have been fulfilled or canceled or have expired. Respondent may continue to
maintain and service viatical policies subject to the approval of the Department.
Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket P28 | page 3S of 45
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‘The purchase agreement between Future First Financial Group, Inc. and each investor provided in pertinent part as
follows: “Purchaser 1s not required to make any payment other than the purchase price” and “ Trustee will pay
insurance policy(ies) premiums until actual maturity(ies) out of Fidelity Viatical Special Trust Account.” Ms. Davis
testified that her review of the bank records show that there were insufficient funds in the Fidelity Viatical Special
Trust Account to continue payment of the required premiums on all of the policies purchased by investors.
Subsequent to the Order of the Department revoking its license, Future First, entered into a service
agreement with Life Settlement Service Corp to service the policies of Future First investors without the permission
of the Department. This agreement was entered into by Future First on the 21" day of June, 2002 and provided that
Life Settlements would, among other things, review policies, monitor viators, conduct mailings, advertising, trustee
provisions, legal referrals, file storage, medical life expectancy, and office space, all relative to the policies and
investor activities for viatical settlement policy of Future First. This is in clear contradiction of and an attempt to
circumvent the Department’s Order Revocation of May 17" provisions of Florida Statutes Chapter 626.
In addition, the documents provided by Future First and Life Settlements to the Department included
two (2) pieces of correspondence, one dated July 8, 2002 and the other dated July 18, 2002.
In the July 8, 2002 letter, forwarded by Life Settlements Service Corporation to investors of Future
First Financial Group, the letter provided in pertinent part,
“The Fidelity Trust has advised Service Corp the Premium Escrow account has insufficient funds
to make future premium payments on insurance policies. Premium payments must be made
according to policy requirements in order to insure the policy stays in force and in good standing.
Service Corp. management and staff has six years of experience in servicing over 9000 investors
monthly.
These circumstances have a solution, but there is a very time sensitive deadline. You must act now

or your policy investment will lapse, resulting in an unnecessary loss. The Trust account that
disburses premium payments is prepared to facilitate all payments.

check pavable to Life Sertlement Service Corp for servicing and monitoring. See enclosed invoice.”

The July 18, 2002 letter, forwarded by Life Settlements Service Corporation to investors of Future
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" First Financial Group, provided in pertinent part,
“Enclosed please find an invoice that requires your prompt attention. We understand that you may
or may not have already received an invoice regarding this investment. We urge that vou carefully
review the enclosed statement regarding this investment only.
This may be one of several investments you have, which will result in several invoices for individual
policies. If you have several policies that you have investments on, you will receive a statement for
each of those as we find premiums due. Based on our current research, these premiums are due

immediately in order to keep this policy active.

Pleased be advised that time is of the essence in order to keep the insurance policy active.”

These letters clearly show that Future First was attempting to continue its viatical settlement
obligations through a third party, namely Life Settlements, and was not concluding its affairs as ordered, but was
soliciting additional funds through a third party from investors in contradiction of its agreement with those investors.
The relationship between Future First and Life Settlement is not at an arm’s length, and the agreement was
approved by the Department.

From the testimony before this Court it is clear that (1) Future First had its license revoked for its
failure to follow the laws and regulations regarding viatical insurance settlements by the Florida Department of
Insurance on May 17, 2002; (2) the Order of revocation specifically provided that the “Respondent must proceed
immediately.....to conclude the affairs it is tansacting under its license” and that the “Department retains jurisdiction
over the provider until all contracts have been fulfilled or canceled or have expired”; (3) the documents provided
by Future First reveal and the testimony of Ms. Davis confirms that Future First did not attempt to “immediately”
conclude the affairs it was transacting; (4) there are insufficient funds to insure payments for policy premiums for
which Future First was responsible. (Parenthetically, in the event there are other funds available to Future First,
those funds and the sources of those funds, were not disclosed in the documents provided to the Department.): (5)
subsequent to the revocation of the license of Future First, Future First negotiated and executed a servicing contract
with the Respondent, Life Settlement, and that members of the management of Future First positioned themselves
in management positions for Life Settlement Services Corp; and (6) Life Settlement has solicited funds from Future

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First investors.

It is clear from the testimony presented by Ms. Davis and the documents and other evidence
presented to the Court, that the investors of Future First are in jeopardy of losing their entire investment if Future
First is allowed through Life Settlement to control the investments and the payment of the policy premiums. This
Court will not allow Future First and its management team, who were responsible for putting its investors in a
perilous financial situation, to again subject these same investors to possible further financial peril and losses by
assuming control and soliciting funds through a newly formed corporation. Accordingly, this Court finds that it
is evident under the circumstances of this case, considering all of the evidence presented, that a Conservator should
be appointed for Future First Financial Group, Inc. in order to prevent irreparable loss, damage, or injury to

investors in Viatical and/or life settlement contracts effectuated by Future First Financial Group, Inc.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that David Levine, of Tew
Cardenas Rebak Kellogg Lehman DeMaria Tague Raymond & Levine, L.L.P. (Conservator), is hereby appointed
Conservator of Future First and of its assets and property as follows and with the following powers and authority:

1. The Conservator is hereby authorized and empowered to take immediate possession of all
property and assets belonging to Future First of every kind whatsoever and wherever located including, but not
limited to:

(a) 1 life insurance policies and the proceeds therefrom (including death benefits) owned or held
beneficially, directly or indirectly, by or for the benefit of Future First, The Fidelity Trust, and/or Investors, or any
successors or assigns of the foregoing entities, that were purchased from the date of inception of Future First
through the present date (Policies.)

(b) all assets of Future First including, but not limited to: computer hardware, databases, software,

Investor and viator files relating to the Policies, all accounting and financial records including those pertaining to

:03-cv- - 1 Enter n FLSD Docket 01/31/2003. _P 3 of 45
Case 1:03-cv-20227-JEM Document tered o pH2093., 7% F5 p oe

" premium payments and receipt and distribution of proceeds on the Policies, any deposits of cash, bonds or
guarantees, filing cabinets, office supplies, any leases of office space, and telephone systems;

(c) all premium reserve accounts, bank accounts, and any other depository accounts, wherever
situated, into which Future First Investor funds or proceeds from Future First Policies have been deposited;

(d) any trust, including The Fidelity Trust, and the assets thereof, as well as any predecessor or
successor trust, or any affiliated trust set up pertaining to the business of Future First;

(e) all nghts of action, books, papers, data processing records, evidences of debt, bank accounts,
savings accounts, certificates of deposit, stocks, bonds, debentures, and other securities, mortgages, furniture,
fixtures, office supplies and equipment, and all real property of Future First, wherever situated; and

(f) all other assets and property acquired with the proceeds of funds or assets of Future First,

including The Fidelity Trust (Paragraphs 1(a)-(f) collectively referred to as Conservatorship Assets).

IT IS FURTHER ORDERED that the Conservator is given directions and authority to accomplish
the following:

2. To manage all Conservatorship Assets pending further action by this Court including, but not
limited to, the evaluation of the Policies, and to take the necessary steps to protect the Investors’ _ interests
including, but not limited to, the liquidation, sale, or financing of the Policies to institutional buyers and/or
financiers, and the assessment to Investors of future premium payments;

3. to receive and collect any and all sums of money due or owing on the Policies to Future First
Or its agents whether the same are due or shall hereinafter become due and pavable;

4. to seek the return of any cash, bond, or guarantee on deposit with any regulatory agency or

5. to make such payments and disbursements as may be necessarv and advisable for the
Preservation of the Conservatorship Assets and as may be necessary and advisable in discharging his duties as

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Case 1:03-cv-20227-JEM Document1 Entered on FLSD Docket Te Pe b999)37 RI 45
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~ Conservator including, but not limited to, the timely payment from available funds or proceeds of financing of all
premiums for Policies that have not yet matured;
6. | to monitor the viators of the Policies by tracking the location of the viators and periodically

checking the health of the viators;

7. to receive notice of the death of viators, file death claims on the viators, and collect the proceeds
paid on the Policies as such mature;

8. subject to further order of the Court, to disburse to Investors and other creditors of Future First
the proceeds paid on matured Policies, and the proceeds of other Conservatorship Assets collected by the
Conservator;

9. to give notice to Investors, at their last-known mailing address, of this Conservatorship Order
within thirty (30) days of the entry of this Order and to establish a method by which Investors may obtain periodic
updates;

10. to retain or discharge attorneys, accountants, computer consultants, trustees, and other persons
as may be advisable or necessary to the exercise of the duties of the Conservator subject to application to and
approval by the Court;

11. to employ, compensate, or discharge office staff;

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to open and inspect any and all mail and/or deliveries, and to notify any insurance company
or third party administrator and the United States Postal Service to effect the forward delivery of any mail related
to the Conservatorship Assets to a mail depository under the control of the Conservator;

13. to investigate the manner in which the affairs of Future First were conducted and institute such
legal actions and legal proceedings, for the benefit and on behalf of Future First and Investors and other creditors,
as the Conservator deems necessary against those individuals, corporations. partnerships, associations, and/or
unincorporated organizations, which the Conservator may claim to have wrongfully, illegally, or otherwise
improperly misappropriated or transferred monies or other proceeds directly or indirectly traceable from Investors

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Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 35 of 4S 5

" in Future First including against Future First and the officers, directors, shareholders, employees, affiliates, and any
persons acting in concert or participation with them, or against any transferees of monies or other proceeds directly
or indirectly traceable from Investors to Future First; provided such actions may include, but not be limited to,
seeking imposition of constructive trusts, disgorgement of profits, recovery and/or avoidance of fraudulent transfers
under Florida Statute sections 726.101, et seq., or otherwise, rescission and restitution, the collection of debts, and
such orders from this Court as may be necessary to enforce this Order;

14. to pursue any and all causes of action belonging to Future First;

15. to present to this Court, within thirty (30) days of the date of this Order, a preliminary report
reflecting the status of the Conservatorship, upon receipt of which the Court may institute such further proceedings
as the Court deems advisable. Thereafter, unless otherwise ordered by the Court, commencing on January 15, 2003,
the Conservator shall file quarterly reports with the Court apprising the Court of its progress;

16. to defend, compromise, or settle legal actions, including the instant proceeding, wherein Future
First or the Conservator is a party, commenced either prior to or subsequent to this Order, with authorization of this
Court; except, however, in actions where Future First is a nominal party, as in certain foreclosure actions where the
action does not effect a claim against or adversely affect the assets of Future First, the Conservator may file
appropriate pleadings in his discretion. The Conservator may waive any attorney-client, accountant-client, or any
other privilege held by Future First:

17. to assume control of, and be named as authorized signatory for, all accounts in any bank,
brokerage firm, financial institution, or other depository which has possession, custody, or control of any assets or
funds, or the proceeds, wherever situated. of Future First and, upon order of this Court, of any other entities;

18. to make or authorize such payments and disbursements for customary operating expenses from
ihe funds and assets taken into controi or thereafter received bv the Conservator, and incur, or authorize the
incurrence of. such expenses and make. or authorize the making of, such agreements as may be reasonable,

necessary. and advisable in discharging his duties as Conservator;
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19. to sell assets or property including Conservatorship Assets, with the approval of the Cour:
|

20. to accept, continue, reject, cancel or negotiate modifications to excutory contracts and

unexpired leases as allowed by the terms thereof or with Court approval:
21, to exercise those other powers necessary to implement this Conservatorship pursuant to the

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orders and directives of the Court.

IT IS FURTHER ORDERED as follows:

22. Future First and its directors, officers, shareholders, agents, and other persons who are in
custody or control of Conservatorship Assets, including The Fidelity Trust and Life Settlement Services Corp. (Life
Settlement), shall immediately execute such documents as may be necessary and take any other action as necessary

to immediately transfer the ownership and beneficial rights to the Conservatorship Assets to the Conservatorship.

23. All banks, brokerage firms, financial institutions, and other business entities and individuals
which have possession, custody, or control of any assets, funds, or accounts, in the name of, or for the benefit of,
Future First shall cooperate expeditiously in the granting of control and authorization as a necessary signatory as
to said assets and accounts to the Conservator and in turning over and transferring to the Conservator any and all
funds in such accounts and copies of all records and statements concerning such accounts. Such banks, brokerage
firms, financial institutions, and other business entities and individuals shall also identify to the Conservator whether
any additional accounts exist that appear to be related to or associated with Future First; and, if such accounts do
exist, such banks, brokerage firms, financial institutions, and other business entities and individuals shall cooperate
expeditiously in the granting of control and authorization as a necessary signatory as to said assets and accounts to
the Conservator and in turning over and transferring to the Conservatcr any and all funds in such accounts and
copies of all records and statements conceming such accounts.

24. Unless and as authorized by the Conservator, no person or entity, including Future First and
Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 37 of 45
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its principals, shall take any action, nor purport to take any action, in the name of or on behalf of Future First.

25. Future First, Life Settlement and The Fidelity Trust and their principals, officers. agents.
employees, atturneys, and attorneys-in-fact, shall cooperate with and assist the Conservator including. if deemec
necessary by the Conservator, appearing for deposition testimony and producing documents, upon five (5) business
days notice (which may be sent by facsimile), and shall take no action, directly or indirectly, to hinder, obstruct.
or otherwise interfere with the Conservator in the conduct of his duties or to interfere in any manner. directly or
indirectly, with the custody, possession, management, or control by the Conservator of the funds, assets, premises.
and choses in action described above.

26. All persons and entities, including Life Settlement, The Fidelity Trust, Future First, and their
subsidiaries, affiliates, officers, directors, trustees, agents, servants, employees, attorneys, and all persons acting on
their behalf, under their direction and control, and/or in concert or participation with them, and further including
any banks or financial institutions, wherever chartered or located, life insurance companies, federal or state agencies,
viators, viatical settlement providers, and viatical settlement brokers who receive actual notice of this
Conservatorship Order, by personal service, facsimile transmission or otherwise, shall promptly deliver and
surrender to the Conservator:

(a) all Conservatorship Assets in the possession of or under the control of any one or more of them;
and

(b) all books and records of any kind pertaining to the Conservatorship Assets, to the Investors,
or to the viators whose lives are insured by the Policies.

27. All persons and entities, including Life Settlement, The Fidelity Trust, Future First, and their
subsidiaries, affiliates, officers, directors, trustees, agents, servants, employees, attorneys, and all persons acting on
their behalf, under their direction and control, and/or in active concert or participation with them, and further
including any banks or financial institutions, wherever chartered or located, life insurance companies, federal and
State agencies, viators, viatical settlement providers, and viatical settlement brokers who receive actual notice of

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Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 38 of 45

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this Conservatorship Order, by personal service, facsimile transmission or otherwise, fully cooperate with and assis:
the Conservator and that thev take no action, directly or indirectly, to hinder or obstruct the Conservator in the
conduct of his duties or to interfere in any manner, directly or indirectly, with the custody. possession, or control
exercised bv said Conservator.

28. The Conservator is authorized, without breaching the peace, to enter and secure any premises
under the control of Future First or its agents, wherever located or situated, in order to take possession, custody or
control of, or identify the location or existence of, any Conservatorship Assets.

29. The Conservator and his professionals and consultants may apply to the Court for
compensation, from time to time, in a reasonable sum to be determined by the Court and from such sources as
approved by the Court and for reimbursement for reasonable expenses incurred by them in connection with their
duties. The fees and expenses of the Conservator and for professionals and consultants shall have priority over any
other claims made against Future First.

30. Except bv leave of Court during the pendency of this Conservatorship, all creditors and other
persons or entities seeking money, damages or other relief from Future First or its agents, and all others acting on
behalf of any such creditors or other persons or entities, including sheriffs, marshals, and other officers and their
deputies, and their respective attorneys, servants, agents, and employees, are hereby stayed and restrained from
doing any act or thing whatsoever to interfere with Future First or its agents, in an orderly transfer of the
Conservatorship Assets or the Conservator or to the possession of or management by the Conservator of the
Conservatorship Assets, or to interfere in any manner during the pendency of this proceeding with the exclusive
jurisdiction of this Court over Future First. This Conservatorship Order shall not stay or restrain any pending or
future action whatsoever by any government agency or any representative on behalf of any government. All
sheriffs, marshals, police officers and other law enforcement officials shall assist the Conservatorship in
enforcement of this court’ s orders.

31. With the Court’s prior approval, the Conservator is solely and fully authorized to proceed with

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any filing he may deem appropriate under the United States Bankruptcy Code as to Future First.

32. Title to all property, real or personal, all contracts, rights of action and aii books and records
of Future First, wherever located within or without this state, is vested by operation of law in the Conservator unt!
further order of the Court.

33. Upon request by the Conservator, any company providing telephonic services to Future First
shall provide a reference of calls from the number presently assigned to Future First to any such number designated
by the Conservator or perform any other charges necessary to the conduct of the Conservatorship.

34. Any entity furnishing water, electric, telephone, sewage, garbage or trash removal services to
Future First shall maintain such service and transfer any such accounts to the Conservator unless instructed to the

contrary by the Conservator.

35. The United States Postal Service is directed to provide any information requested by the
Conservator regarding Future First, and to handle future deliveries of Future First’ s mail as directed by the
Conservator.

36. No bank, savings and loan association, other financial institution, or any other person or entity
shall exercise any form of set-off, alleged set-off, lien, or any form of self-help whatsoever, or refuse to transfer any
funds or assets of Future First to the Conservator’ s contro] without the permission of this Court.

37. No bond shall be required in connection with the appointment of the Conservator and persons
employed or retained by the Conservator. Except for any act of gross negligence, the Conservator and his retained
professionals and consultants shall not be liable for any loss or damage incurred by Future First or bv the
Conservator’ s officers, agents, or employees, or any other person, by reason of any act performed or omitted to be
performed by them in conjunction with the discharge of their duties and responsibilities hereunder.

38. Service of this Order shall be sufficient if made upon Future First’ s attorneys or principals by
facsimile, hand-delivery, overnight courier, or United States mail.

39. Inthe event that the Conservator discovers that funds of Future First or of its Investors have

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been transferred to other persons or entities, the Conservator may apply to this Court for an Order giving the
Conservator possession of such funds and, if the Conservator deems it advisable, extending this Conservatorship
over anv person or entity holding such funds.

40. Immediately upon entry of this Order, the Conservator may take depositions upon oral
examination of, and obtain the production documents from, parties and non-parties subject to five (5) business days
notice. In addition, immediately upon entry of this Order, the Conservator shall be entitled to serve interrogatories
and requests for admission, which shall be responded to within twenty (20) calendar days of service. Service of
discovery requests shall be sufficient if made by facsimile or overnight courier; depositions may be taken by
telephone or other remote electronic means.

41. Life Settlement and The Fidelity Trust shall immediately provide the following information
to the Conservator:

(a) An accounting (including receipt and disbursement) of all funds received from Future First
Investors, Future First, The Fidelity Trust, or Life Settlement, and all financial information and records pertinent
thereto.

(b) All records regarding the Policies, including servicing of or collections on the Policies.

42. Until notified in writing by the Conservator, or until it properly exercises any contractual option
to terminate servicing, Life Settlement shall continue servicing the Policies and provide daily written reports to the
Conservator regarding that servicing. All fees collected and to be collected for such servicing of the Policies shall
be immediately deposited in a separate suspense account under the control of the Conservator pending further order
of the Court.

43. Any and all death benefit payments on the Policies received by Life Settlement, The Fidelity
Trust. or their successors or assigns shall be immediately deposited in a separate suspense account under the control
of the Conservator pending further order of the Court.

44. Because of their solititation of funds from Future First Investors and Future First until notified

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otherwise in writing by the Conservator, Life Settlement, The Fidelity Trust, Future First, andor Charles R.
Sussman shall remit any monies from Investors, received pursuant to solicitation for premium payments. to the
applicable insurer, and provide a daily written report thereof to the Conservator. Absent other agreement between
the Conservator and Mr. Sussman/ Fidelity Trust, the Conservator shall assume premium payment responsibilities
currently being dishcarged by Mr. Sussman/ Fidelity Trust by a date no later than twenty (20) davs of the date of
this Order. During this transition period Mr. Sussman/ Fidelity Trust will continue to be reasonably compensated
for their services.

45. Life Settlements shall deliver to the Conservator all Policies and Policy account and payment
information relative to the Policies, including identification of all investors, their addresses and other information
necessary for the Conservator to determine the payment history, any current payments due, the name of the investors
associated with each Policy of Future First.

46. Life Settlement, Future First, The Fidelity Trust, and Charles R. Sussman, shall immediately
provide to the Conservatcr a copy of any notice, in their possession, custody, or control, from any insurer, of lapse,
cancellation, or other indication of Policy termination, or of any notice suggesting an insurer’s intent to terminate
Policy coverage by reason of lapse, cancellation, or otherwise. For purposes of this Paragraph, immediate shall
mean no later than twenty-four (24) hours after execution of this Order or receipt of such notice by the foregoing
person or entities.

47. This Court retains jurisdiction over the parties and subject matter of this action to ammend or
modify this Order to either enlarge or restrict the activities of the Conservator and for all other purposes.

DONE AND ORDERED this 9" day of August, 2002, at St. Augustine, St. Johns County, Florida.

J. MICHAEL TRAYN
CIRCUIT COURT JU

Copies to:
Michael H. Davidson, Esq.
Christopher A. White, Esq.

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IN THE CIRCUIT COURT, SEVENTH
JUDICIAL CIRCUIT, IN AND FOR

ST. JOHNS COUNTY, FLORIDA Public Records of
St. Johns County. FL

T N7-145 Cierk# G2-047091

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STATE OF FLORIDA
DEPARTMENT OF INSURANCE,
Petitioner,
VS.
FUTURE FIRST FINANCIAL GROUP, INC., and LIFE 2 3
SETTLEMENT SERVICES CORP.. = “ry
Respondent. eft =
/ SEO hey
Wy ORDER CORRECTING CLERICAL ERROR - OE: 3 Sas!
V7 seo 8
‘ This matter came to be considered by the Court upon its own motion pursuant to Fférida Rule of

Civil Procedure 1.540 and the Court finding that the Order Appointing Conservator in the above styled matter which
was entered by this Court on 9" day of August, 2002 contained a clerical error on page 4 and that same should be
corrected, it is therefore

ORDERED AND ADJUDGED that on page 4, in the second paragraph which begins with the
words “ These letters clearly show...”, the last sentence should read as follows: “ The relationship between Future
First and Life Settlement is not at arm’s length, and the agreement was not approved by the Department.”.

DONE AND ORDERED this 13% day of August, 2002, at St_-Augustine, St. Johns County, Florida.

J. MICHAEL TRAYNO
CIRCUIT COURT JUDGE

Copies to:
Michael H. Davidson, Esq.
Christopher A. White, Esq.

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Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 43 of 45

DAVID M. LEVINE, CONSERVATOR
for Future First Financial Group, Inc.
Suite 2600
201 S. Biscayne Boulevard
Miami, FL 33131-4336
Telephone: (305) 536-1112
Facsimile: (305) 536-1116

January 24, 2003

Via U.S. Mail and Facsimile (305) 577-7001
Peter M. Kramer, Esq.

Steel Hector & Davis LLP

200 South Biscayne Blvd, Suite 4000

Miami, FL 33131-2398

RE: Insurer: Sun Life Assurance Company of Canada
Insured: Peter H. Storrs
Policy / Contract No: 97851

Dear Peter:

On behalf of David M. Levine, Conservator, this office previously notified Sun
Life Assurance Company of Canada (‘Sun Life”) of the death of the above insured. As
you are representing Sun Life, we wanted to notify you that as Conservator, this office is
in the process of completing the required claims package for the above-referenced policy.
We hereby request that the processing of this claim be handled through our office in
Jacksonville, FL at the following address: Future First Conservatorship, 1301 Riverplace
Blvd., Suite 1700A, Jacksonville, FL 32207, telephone: (904) 398-3653. We request that
all questions regarding the processing of this claim be directed to our Jacksonville office
as well. Additionally, we request that the death benefit for this policy be sent to our
Jacksonville, FL office upon completion of the processing of this claim, and not to the
beneficiaries indicated in vour records. The basis for our requests to process this claim
and collect the death benefit is described below.

On August 9, 2002, an Order Appointing Conservator for Future First Financial
Group, Inc., of Ponte Vedra, Florida (“Future First”), was entered by the 7" Judicial
Circuit Court, In and For St. Johns County, Florida, by The Honorable J. Michael
Traynor. A copy of the Order and the amendment thereto, issued on August 14, 2002, is
attached for your reference.

The Order appointed David M. Levine as Conservator of Future First and
authorized the Conservator to take immediate possession of all Conservatorship Assets.
Specifically, Paragraph |(a) of the Order states in pertinent part.

I. The Conservator is hereby authorized and empowered to take immediate
possession of all property and assets belonging to Future First of every kind whatsoever
and wherever located including, but not limited to:

ATTACHMENT | EXHIBIT Bo
Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 44 of 45

(a) all life insurance policies and the proceeds therefrom (including death
benefits) owned or held beneficially, directly or indirectly. by or for the benefit of Future
First, The Fidelity Trust, and/or Investors, or any successors or assigns of the foregoing
entities, that were purchased from the date of inception of Future First through the
present date (Policies.)....

The above-referenced policy was held in the name of The Fidelity Trust for the benefit of
Future First Financial Group investors. Accordingly, as a Conservatorship Asset, the
Conservator is authorized by the Order to process the claim and collect the death benefit
from this policy.

In addition to the language of Paragraph |(a) of the Order, cited above, these requests
are consistent with the provisions of Paragraphs 26 and 27 of the Order, which read as
follows:

26. All persons and entities, including Life Settlement, The Fidelity Trust, Future First,
and their subsidiaries, affiliates, officers, directors, trustees, agents, servants,
employees, attorneys, and all persons acting on their behalf, under their direction and
control, and/or in concert or participation with them, and further including any banks
or financial institutions, wherever chartered or located, life insurance companies,
federal or state agencies, viators, viatical settlement providers, and viatical settlement
brokers who receive actual notice of this Conservatorship Order, by personal service,
facsimile transmission or otherwise, shall promptly deliver and surrender to the
Conservator:

(a) all Conservatorship Assets in the possession of or under control of any one or
more of them;

and

(b) all books and records of any kind pertaining to the Conservatorship Assets. to

the Investors, or to the viators whose lives are insured by the Policies.

27. All persons and entities, including Life Settlement, The Fidelity Trust, Future First,
and their subsidiaries, affiliates, officers, directors, trustees, agents, servants,
employees, attorneys, and all persons acting on their behalf, under their direction and
control, and/or in concert or participation with them, and further including any banks
or financial institutions, wherever chartered or located, life insurance companies,
federal or state agencies, viators, viatical settlement providers, and viatical settlement
orokeis who leceive aciuai nouce of ihis Coaservatorenip Order, by personal service,
facsimile transmission or otherwise, fully cooperate with and assist the Conservator
and that they take no action, directly or indirectly, to hinder or obstruct the
Conservator in the conduct of his duties or to interfere in any manner, directly or
indirectly, with the custody, possession, or control exercised by said Conservator.
(emphasis added.)

If you need any additional information, please do not hesitate to contact me at our
Jacksonville office at the address above. or by telephone at (904) 398-3653, or at my
Tallahassee office at (850) 841-7770.

Very truly yours,

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yer i@ 0D ee

‘John L. Brennan III
Cc: Michael M. Bajalia, Esq.
Case 1:03-cv-20227-JEM Document 1 Entered on FLSD Docket 01/31/2003 Page 45 of 45

JS 44 (Rev. 12/96) CIVIL COVER SHEET 0 3 ™ 2 0 2 2 C

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the fi ling and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk,of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
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DEFENDANTS iw heore®
DAVID M. LEVINE, AS CONSERVATOR FOR FUTURE FIRST FINANCIAL GROUP, INC., ei ai.,

I. (a) PLAINTIFFS
SUN LIFE ASSURANCE COMPANY OF CANADA,
(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT (Miami-Dade, Florida)
_, Massachusetts(EXCEPT IN U.S. PLAINTIFF CASES)

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED.
(c) ATTORNEY’S (FIRM NAME, ADDRESS, AND, TELEPHONE NUMBER) ATTORNEYS (IF KNOWN) M Ce JUDGE

Peter M. Kramer, Esq. O 2
STEEL HECTOR & DAVIS LLP y de. - Z 2 CW
200 S. Biscayne Boulevard, Suite 4000 Of c

Miami, FL 33131-2398 Telephone: (305) 597-2964

Martinez. | tybe ~ use

(d) CIRCLE COUNTY WHERE ACTION AROSE: CDADEY YMONROE, BROWARD, PALM BEACH, MARTIN, ST.LUCIE, INDIAN RIVER, OKEECHOBEE HIGHLANDS

II. BASIS OF JURISDICTION — (PLACE AN “x” IN ONE BOX ONLY) | III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN “X” IN ONE BOX FOR

I G H T B Oo xo Diversity Cases Only) PLAINTIFF AND ONE BOX FOR DEFENDANT)

0 195 Contract Product Liability

A REAL PROPERTY

0 360 Other Personal Injury

Product Liability

0 210 Landlord Condemnation

A CIVIL RIGHTS

PRISONER PETITIONS

0 710 Fair Labor Standards Act
0 720 Labor/Mgmt Relations
© 730 Labor/Mgmt Reporting

al U.S. Government 0 3 Federal Question F I L E PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Citizen of This State a1 il Incorporated or Principal Place o4 4
of Business in This State
02 US. Government 4 Dwersity
Defendant (Indicate Citizenship of Parties JAN 3 0 003 Citizen of Another State 962 02 Incorporated and Principal Place 05 as
in Item ND) of Business in Another State
itizen or Subjectofa 03 03 Foreign Nation 06 o6
CLARENCE M DDOXpycins Country
IV. ORIGIN (PLACE AN "X" IN ONE BOX ONLY} Appeal to District
Transferred from Judge from
xxo | Original 02 Removed from oc 3 Remanded from a 4 Reinstated or O5 another district 0 6 Multidistrict o7~— Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
V. NATURE OF SUIT (PLACE AN "X° IN ONE BOX ONLY)
A CONTRACT A TORTS FORFESTURE/PENALTY A BANKRUPTCY A OTHER STATUTES
x 110 Insurance PERSONAL INJURY PERSONAL INJURY 3p 610 Agriculture a 422 Appeal 28 USC 158 a 400 State Reapportionment
a 120 Marine 0 310 Airplane 11362 Personal Injury - 9 620 Other Food & Drug 0 423 Withdrawal o 40 Antitrust
o 130 Miller Act 0 315 Airplane Product Med. Malpractice 4 628 Drug Related Seizure 28 USC 157 6 430 Banks and Banking
5 140 Negotiable Instrument Liability 9 365 Personal Injury - of Property 21 USC 881 Fa 450 Commerce/ICC Rates/etc.
0 150 Recovery of Overpayment 0 320 Assault Libel & Product Liability 630 Liquor Laws A PROPERTY RIGHTS G 460 Deportation
& Enforcement of Judgment Slander 036% Asbestos Personal Fo 640 R.R. & Truck 0 470 Racketeer Influenced
0 151 Medicare Act 2 330 Federal Employers Injury Product BG 680 Airline Regs. 0 820 Copyrights and Corrupt Organizations
®y 152 Recovery of Defaulted Liability Liability ®5 660 Occupational 0 830 Patent 816 Selective Service
Student Loan a 340 Marine TERSONAL PROPERTY Safety/Healtn xx0 840 Trademark a 850 Securities/Commodities/
{Excl Veterans) 0 345 Marine Product 0370 Other Fraud By 690 Other Exchang
5q 153 Recovery of Overpayment Liability 0371 Tnuth in Lending B SOCIAL SECURITY G 875 Customer Challenge
of Veteran's Benefits a 350 Motor Vehicle 1 380 Other Personal 12 USC 3410
0 160 Stockholders Suits 0 355 Motor Vehicle Property Damage 0 891 Agricultural Acts
co 198 Other Contract Product Liability 1 388 Property Damage A LABOR 0861 AIA (1395M) a 892 Economic Stabilization Act

a 862 Black Lung (923)

2 863 DIWC/DIWW (405(g))
0 864 SSID Title XVI

2 865 RSI (405(g))

G $93 Environmental Matters
0 894 Energy Allocation Act
D 895 Freedom of Information
Act
0 900 Appeal of Fee Determination

FEDERAL TAX SUITS

Under Equal Access to

B & Disclosure Act Justice

0 220 Foreclosure . 0 740 Railway Labor Act D 950 Constitutionality of State

3 230 Rent Lease & Ejectment 5 790 Other Labor Litigation , Statutes

0 246 Torts to Landlord uo 441 Voting 4 510 Motions to Vacate 49 791 Empl. Ret. Inc. *c 870 Taxes (U.S. Plaintiff .

was pl. Ret. Inc. © 890 Other Statutory Actions

G 245 Tort Product Liability 0 442 Employment Sentence Security Act or Defendant) AorB

2.290 All Other Real Pronerty 0 443 Housine/ HABEAS CORPUS: Ag 871 RSI - Third Party
VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE DO NOT CITE

JURISDICTIONAL STATUTES UNLESS DIVERSITY.) 28 USC §1335
LENGTH OF TRIAL
days estimated (for both sides to try entire case)
DEMAND interplead $314,000.00 CHECK YES only if demanded in complain:
VI. REQUESTED IN CHECK JF THIS IS A CLASS ACTION
COMPLAINT: CO UNDER F.R.C-P. 23 JURY DEMAND: © Yes = @ No

VIL RELATED CASE(S) (See inst
IF ANY None

ructions):
JUDGE

Lp

NUMBER

\WYEaa\cs,

DATE

SIGNATURE OF ATTORNEY OF RECOR DN “Ta th A MJ MARE —

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE___

BILE) Jos
